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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No.   SA CV 16-01257 BRO                               Date     January 23, 2017
 Title      IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                     
 Present: The             BEVERLY REID O’CONNELL, United States District
 Honorable                Judge
 Renee A. Fisher            Not Present                             N/A
 Deputy Clerk               Court Reporter                          Tape No.
 Attorneys Present for Plaintiffs:             Attorneys Present for Defendants:
 Not Present                                   Not Present

 Proceedings:      (IN CHAMBERS)


         ORDER AFFIRMING THE BANKRUPTCY COURT’S ORDER
         DENYING MOTION FOR ATTORNEYS’ FEES

       This matter is on appeal from the United States Bankruptcy Court for the Central
District of California. Appellant-Defendants Jay W. Johnson, Debra F. Johnson, A.I.A.
and Associates Inc., Randal A. Johnson, Robin Lister Johnson, JJ&A Architects, Inc., and
Q Financial Group, Inc. (collectively, “Appellant-Defendants”) were the prevailing
parties in two adversary proceedings initiated against them by Rosendo Gonzalez, the
Trustee for Debtors Jay W. and Debra F. Johnson (“Debtors” or “the Johnsons”).
Appellant-Defendants moved for attorneys’ fees. On June 24, 2016, the Bankruptcy
Court entered an order denying the motion. Appellant-Defendants timely filed this
appeal. The Court has appellate jurisdiction pursuant to 28 U.S.C. § 158(a)(1). The
Court has considered the papers filed in connection with the appeal and the authorities
and record citations referenced therein. The Court finds this matter appropriate for
resolution without oral argument of counsel. (See Fed. R. Civ. P. 78; C.D. Cal. L.R. 7-
15.)  For the reasons explained below, the Court AFFIRMS the Bankruptcy Court’s order
and DENIES Appellant-Defendants appeal.




                                                                                                     
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No.    SA CV 16-01257 BRO                             Date     January 23, 2017
 Title       IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                    
I.       BACKGROUND
        Los Angeles sits “forlornly in the middle of an arid coastal basin,” far from any
significant source of freshwater. MARC REISNER, CADILLAC DESERT 53 (1993 ed.).
Much of the region’s history has been defined by the natural scarcity of freshwater. See
id. at 52–103. This case, like countless others, owes its existence to that scarcity.

      In early 1987, Jay and Debra Johnson purchased two properties in La Cañada,
California, which they hoped to subdivide and convert into a residential development.
(Dkt. No. 8-1 at 3, ¶ 13). In August 1987, the Johnsons sold one of the properties to
Richard Lapides, an acquaintance from their church. (Id. ¶ 14). In early 1992, Jay
Johnson was giving a presentation on his subdivision plan to the city planning
commission when, “to the amazement of everyone present,” a representative of the La
Cañada Irrigation District stood up and announced: “I think I should tell you there is no
access to water on that property.” (Id. at 10–11, ¶ 24).

       When Johnson told Lapides the news, he was livid. Lapides began making threats
to sue the Johnsons, the escrow company, the title company, the City of La Cañada, and
others. (Id.) In August 1993, the Johnsons entered a settlement agreement with Lapides
to discharge any claims he might have against them based on the August 1987 sale. (Id.
at 13, ¶ 29). That agreement (the “1993 Settlement Agreement”) provided, among other
things, that the Johnsons would sign a note for $225,000 plus interest from the date
Lapides purchased the property, payable at a rate of $500 per month with the balance due
in three years unless work commenced on a project to obtain water for the properties.
(Id.) The Johnsons signed a promissory note in connection with the 1993 Settlement
Agreement (the “1993 Johnson Note”).

       The first payments on the 1993 Johnson Note were due in September and October
1993. (Id. at 14–15, ¶ 33). The Johnsons were experiencing financial difficulties, and
their checks were returned for insufficient funds. (Id.) As a result, Lapides declared the
full amount of the note due, and filed a lawsuit to collect the funds in the Superior Court
of California, County of Los Angeles. (Id.) Lapides secured a default judgment against
the Johnsons for approximately $384,000. (Id. at 16, ¶ 35). On May 27, 1994, the
Johnsons signed a new promissory note for $400,000 payable to Lapides (the “1994
Johnson Note”). (Id. at 16–17, ¶ 38). The 1994 Johnson Note required the Johnsons to

                                                                                                    
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No.   SA CV 16-01257 BRO                               Date     January 23, 2017
 Title      IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                     
make payments of $500 per month with the balance due in two years, unless the Johnsons
elected to extend the note for an additional year, in which case payments would increase
to $1,000 per month. (Id. at 17, ¶ 40).

       The Johnsons began making monthly payments on the 1994 Johnson note but were
unable to pay off the balance. Lapides continued to raise the required monthly payment,
and by 1999, the Johnsons were paying him $2,500 per month. (Id. at 22–23, ¶¶ 65–66,
71). Around this time, Jay’s brother, Randy Johnson, agreed to start making payments on
the 1994 Johnson Note. (Id. at 23, ¶ 71). Randy Johnson then negotiated a new
settlement agreement with Lapides (the “2000 Settlement Agreement”). (Id. at 23, ¶ 72).
The 2000 Settlement Agreement required a payment of $10,000 upon signing, with
monthly payments of $2,500 thereafter. (Id., ¶ 73). Randy Johnson made the initial
payment and continued to make monthly payments on Jay Johnson’s behalf. (Id.)
However, it soon became clear that Randy Johnson would not be able to continue making
payments. (Id. at 24–25, ¶ 77). At this point, the Johnsons sought bankruptcy protection.

         On April 5, 2001, the Johnsons filed a voluntary petition for bankruptcy under
Chapter 7 of the Bankruptcy Code. (Dkt. No. 8-1 at 33). Rosendo Gonzalez was
appointed as the Chapter 7 Trustee. (Id.) On June 3, 2003, Gonzalez filed an adversary
complaint against Randy Johnson, his wife Robin Johnson, JJ&A Architects, Inc. (Jay
Johnson’s company), and Q Financial Group, LLC (Randy Johnson’s company), to avoid
allegedly fraudulent transfers of real property and business asset value. (Id.) This action
is referred to as Gonzalez I. On September 22, 2004, Gonzalez filed a second adversary
complaint against all of the Appellant-Defendants, seeking to revoke the Debtors’
discharge based on the allegation that the Debtors had knowingly and fraudulently
overstated their liabilities, understated their income, and failed to deliver or surrender
certain property interests to the Estate. (Dkt. No. 10-1 at 13). This action is referred to as
Gonzalez II.

      In an effort to resolve these proceedings, the Johnsons, Lapides, and Gonzalez
engaged in voluntary private mediation. A settlement agreement was drafted, but never
signed by the Johnsons (the “2005 Settlement Agreement”). Lapides and Gonzalez took
the position that the 2005 Settlement Agreement was binding; the Johnsons disagreed.
The Bankruptcy Court initially agreed with Lapides and Gonzalez, but subsequently

                                                                                                     
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No.     SA CV 16-01257 BRO                              Date     January 23, 2017
 Title        IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                      
granted the Johnsons’ motion for reconsideration and declared the 2005 Settlement
Agreement to be unenforceable. (See id. at 37).

        Thereafter, the two Gonzalez proceedings were consolidated for trial. On February
24, 2016, the Bankruptcy Court ruled in favor of the Appellant-Defendants on all claims.
(Id. at 34). On March 11, 2016, Appellant-Defendants filed a motion for attorneys’ fees.
(Id.) On June 6, 2016, the Bankruptcy Court issued a tentative ruling denying the
motion. (Id. at 30). After a hearing, the court formally adopted the tentative ruling and
denied Appellant-Defendants’ motion. (Id. at 31). This appeal followed.

II.      STANDARD OF REVIEW
         A district court reviews the bankruptcy court’s findings of fact for clear error and
its conclusions of law de novo. Fed. R. Bankr. P. 8013; In re Gebhart, 621 F.3d at 1209.
“The clear error standard is significantly deferential and is not met unless the reviewing
court is left with a definite and firm conviction that a mistake has been committed.”
Fisher v. Tucson Unified Sch. Dist., 652 F.3d 1131, 1136 (9th Cir. 2011) (internal
quotation marks omitted). Thus, a court’s factual determination is clearly erroneous only
if it is illogical, implausible, or “without support in inferences that may be drawn from
the facts in the record.” United States v. Hinkson, 585 F.3d 1247, 1262 (9th Cir. 2009)
(internal quotation marks omitted).

III.     DISCUSSION
        “In the United States, the prevailing litigant is ordinarily not entitled to collect a
reasonable attorneys’ fee from the loser.” Alyeska Pipeline Serv. Co. v. Wilderness
Soc’y, 421 U.S. 240, 247 (1975). Notwithstanding this general rule, a federal court may
award attorneys’ fees where a statute or enforceable contract authorizes such an award
(id. at 257), or as a sanction against a party that “‘acted in bad faith, vexatiously,
wantonly, or for oppressive reasons.’” Chambers v. NASCO, Inc., 501 U.S. 32, 45–46
(1991) (quoting Alyeska, 421 U.S. at 258–259). In the proceeding below, Appellant-
Defendants argued that they were entitled to attorneys’ fees (1) pursuant to the 1993
Settlement Agreement, the 1993 Johnson Note, the 1994 Johnson Note, or the 2005
Settlement Agreement (the “Settlement Agreements”) or (2) pursuant to the Bankruptcy
Courts’ inherent power to sanction litigants for bad-faith conduct. The Bankruptcy Court
disagreed on both points. Appellant-Defendants now seek review.
                                                                                                      
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No.      SA CV 16-01257 BRO                              Date     January 23, 2017
 Title         IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                       




    A. Whether the Bankruptcy Court Erred in Holding that Appellants Were not
       Entitled to Attorneys’ Fees under the Settlement Agreements
       Although “[n]o general right to attorney fees exists under the Bankruptcy Code . . .
a prevailing party in a bankruptcy proceeding may be entitled to an award of attorney
fees in accordance with applicable state law if state law governs the substantive issues
raised in the proceedings.” In re Baroff, 105 F.3d 439, 441 (9th Cir. 1997). The
substantive issue raised in Gonzalez I—whether the alleged transfer of real property and
business asset value was voidable—was governed by California law. See 11 U.S.C.
§ 544(b)(1) (“the trustee may avoid any transfer of an interest of the debtor in property or
any obligation incurred by the debtor that is voidable under applicable law by a creditor
holding an unsecured claim”); In re Andersen, 166 B.R. 516, 523 (Bankr. D. Conn. 1994)
(“The ‘applicable law’ referred to in [§ 544(b)(1)] is the applicable state fraudulent
conveyance statute.”). Thus, the Court looks to California law to determine whether
Appellant-Defendants are entitled to attorneys’ fees with respect to that action.

         The relevant California statute provides:

         In any action on a contract, where the contract specifically provides that
         attorney’s fees and costs, which are incurred to enforce that contract, shall
         be awarded either to one of the parties or to the prevailing party, then the
         party who is determined to be the party prevailing on the contract, whether
         he or she is the party specified in the contract or not, shall be entitled to
         reasonable attorney’s fees in addition to other costs.

Cal. Civ. Code § 1717(a). As the text indicates, there are three prerequisites to an award
of attorneys’ fees under this provision. “First, the action in which the fees are incurred
must be an action ‘on a contract.’” In re Penrod, 802 F.3d 1084, 1087 (9th Cir. 2015).
“Second, the contract must contain a provision stating that attorney’s fees incurred to
enforce the contract shall be awarded either to one of the parties or to the prevailing
party.” Id. “And third, the party seeking fees must be the party who ‘prevail[ed] on the

                                                                                                       
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                                                           UNITED STATES DISTRICT COURT
                                                          CENTRAL DISTRICT OF CALIFORNIA

                                                               CIVIL MINUTES – GENERAL

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  Title                     IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                                                
contract.’” Id. at 1087–88 (citation omitted). “[A]n action is ‘on a contract’ when a party
seeks to enforce, or avoid enforcement of, the provisions of the contract.” Id. at 1088.

        In the proceeding below, Appellant-Defendants sought attorneys’ fees under Cal.
Civ. Code § 1717(a), arguing that Gonzalez proceedings were “on a contract” because
they were predicated on the Settlement Agreements. The Bankruptcy Court disagreed.
In its tentative ruling, incorporated by reference in the final order, the court explained:

                     Here, the conditions for § 1717 are not met. Under California law, an
              action is ‘on a contract’ when a party seeks to enforce, or avoid enforcement
              of, the provisions of the contract. In the Motion, Defendants contend that
              they have a right to attorneys’ fees and costs under the attorneys’ fees
              provisions in four separate agreements: (1) the 1993 Settlement Agreement;
              (2) the 1993 Johnson Note; (3) the 1994 Johnson Note; and (4) the 2005
              Settlement Agreement. However, a review of the claims asserted by the
              trustee in Gonzalez I and II shows that none of these claims for relief were
              brought under these agreements and/or documents. The Trustee did not seek
              to enforce, or avoid enforcement of, the provisions of any of these
              agreements and/or documents. Rather, the Trustee sought to avoid
              fraudulent transfers and revoke Debtors’ discharge.

Doc. 8-1 at 36 (internal citations omitted).

       Appellant-Defendants argue that the Bankruptcy Court’s decision was in error
because it “overlooked the essential fact” that the fraudulent transfer claim in Gonzalez I
was predicated on the Settlement Agreements.1 As Appellant-Defendants correctly note,
a trustee’s ability to avoid a fraudulent transfer is predicated on the existence of a
“creditor holding an unsecured claim.” 11 U.S.C. § 544(b)(1). The only unsecured claim
of any significance in this case was that owing to Lapides under the Settlement


                                                            
              1
         Appellant-Defendants do not argue that the revocation-of-discharge claim in Gonzalez
II was predicated on the Settlement Agreements, effectively conceding that attorneys’ fees
related to this action are not recoverable under Cal. Civ. Code § 1717(a).
                                                                                                                                
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                                                           UNITED STATES DISTRICT COURT
                                                          CENTRAL DISTRICT OF CALIFORNIA

                                                               CIVIL MINUTES – GENERAL

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  Title                     IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                                                
Agreements.2 Appellant-Defendants argue that Gonzalez I is properly conceived of as an
action “on a contract” because the overriding purpose of the litigation was to protect
Lapides’s rights under the Settlement Agreements.

       The Court disagrees. In bringing a fraudulent transfer action, the Trustee was not
seeking “to enforce, or avoid enforcement of, the provisions of” the Settlement
Agreements. Cf. Penrod, 802 F.3d at 1088. Rather, his purpose was “‘to augment the
bankruptcy estate’” for the benefit of any unsecured creditor who might have a claim
against it. Stern v. Marshall, 564 U.S. 462, 492 (2011) (quoting Granfinanciera, S.A. v.
Nordberg, 492 U.S. 33, 56 (1989)). Such an action is “not based upon any consensual
relationship,” but instead sounds in quasi-contract; its purpose is to provide restitution of
benefits that have been conferred to the transferee but which rightfully belong to the
creditors. United States v. Neidorf, 522 F.2d 916, 918 (9th Cir. 1975).

      The basic structure of Gonzalez I confirms that this litigation was not an action to
enforce the Settlement Agreements. No overlap exists between the parties to the
Settlement Agreements and the parties to the litigation. The Settlement Agreements were
signed by Jay Johnson, Debra Johnson, and Lapides; the parties to Gonzalez I were
Gonzalez, Randy Johnson, Robin Johnson, JJ&A Architects, Inc., and Q Financial Group,
LLC. Because none of the parties to Gonzalez I were parties to the Settlement
Agreements, none are entitled to attorneys’ fees under these agreements. Thus, Cal. Civ.
Code § 1717 has no application.

       B. Whether the Bankruptcy Court Erred in Declining to Award Attorneys’ Fees
          Pursuant to its Inherent Power to Sanction
      Courts have inherent power to sanction bad-faith litigation conduct, including by
awarding attorneys’ fees to the prevailing party. Chambers, 501 U.S. at 45–46.
Sanctions may be imposed on any person—whether or not a party—who engages in

                                                            
              2
        The schedule of unsecured non-priority claims filed by the Johnsons lists ten creditors,
two of which (Randy Johnson and JJ&A Associates) were closely associated with the Johnsons.
(Doc. 10-1 at 262–64). The independent creditors had claims for $1,140,999, with Lapides’s
claim for $1,100,000 constituting 96% of this total. (See id.)
                                                                                                                                
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No.      SA CV 16-01257 BRO                              Date     January 23, 2017
 Title         IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                        
abusive litigation practices. Corder v. Howard Johnson & Co., 53 F.3d 225, 232 (9th
Cir. 1994).

       In the bankruptcy proceeding, Appellant-Defendants requested that the
Bankruptcy Court award attorneys’ fees as a sanction for bad-faith litigation conduct by
Gonzalez, his attorney James Hinds, and Lapides. The court declined to impose
sanctions. In its tentative ruling, incorporated by reference in the final order, the court
explained that sanctions were not warranted against Gonzalez:

         Here, there is no substantive or admissible evidence of the requisite bad faith
         conduct by the Trustee . . . . Based on the record presented at trial, including
         extensive cross examination, the court found the expert report and testimony
         of Mr. Lapides were not persuasive and, ultimately, lacking in credibility.
         However, these findings are not tantamount to frivolous, vexatious . . .
         conduct on the part of the Trustee . . . . Having presided over these
         adversary proceedings for more than a decade, the court has observed
         vigorous, contentious[,] and, at times, acrimonious advocacy on both sides
         of the litigation fence. While the Trustee may have misjudged the efficacy
         of Mr. Lapides’[s] report and testimony, this court cannot find that the
         Trustee acted in bad faith in doing so.

(Dkt. No. 8-1 at 38–39).

       Appellant-Defendants do not explain why the Bankruptcy Court’s failure to
sanction Gonzalez was reversible error. Instead, the argue that the court erred by failing
to consider whether sanctions were warranted against Lapides and Hinds. This argument
lacks merit. The Bankruptcy Court clearly did not believe that the Trustee or anyone
associated with him was guilty of bad faith. (See Dkt. No. 8-1 at 41 (declining to impose
sanctions on Gonzalez because Defendants presented no evidence of bad faith and “the
court cannot make such finding[] based on its own observations, recollections, and
experiences with the subject litigation”), 44 (the motion for sanctions against Lapides “is
not supported by evidence of bad faith”); see also 8:06-ap-01313-ES (Dkt. No. 584 at 18)
(“I have absolutely no doubt as to the sincerity of Mr. Lapides’[s] belief in all of the work
that he has done.”)). The Court has reviewed the examples of alleged bad faith set forth
in Appellant-Defendants’ brief, and cannot conclude that the Bankruptcy Court’s

                                                                                                        
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

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 Title        IN RE JAY W. AND DEBRA F. JOHNSON
                                                                                                         
conclusion was “illogical, implausible, or without support.” Hinkson, 585 F.3d at 1262.
Accordingly, the Bankruptcy Court’s refusal to impose sanctions is AFFIRMED.

IV.      CONCLUSION
         For the foregoing reasons, the appeal is DENIED.

         IT IS SO ORDERED.




                                                                                       :
                                                     Initials of
                                                     Preparer




USBC Central District of California Santa Ana, 8:06-bk-10373 ES
Consolidated Adversary Cases, 8:06-ap-1313 ES; 8:06-ap-1311 ES




                                                                                                         
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